
69 N.Y.2d 921 (1987)
In the Matter of Department of Environmental Protection of the City of New York, Respondent, and Environmental Defense Fund, Inc., Intervenor-Respondent,
v.
Department of Environmental Conservation of the State of New York et al., Appellants, and Central Hudson Gas &amp; Electric Corporation, Inc., et al., Intervenors-Appellants.
Court of Appeals of the State of New York.
Submitted April 21, 1987.
Decided April 23, 1987.
Motions for leave to appeal denied. Motion by Central Hudson Gas &amp; Electric Corporation, Inc., for a stay dismissed *922 as academic. Motion by the Department of Environmental Protection of the City of New York to vacate the statutory stay dismissed as academic. On petitioner's motion to hold Central Hudson Gas &amp; Electric Corporation, Inc., Donald R. Otis and Carl E. Meyer in contempt: The parties are directed to present evidence on the issues raised on the motion at a hearing before Honorable Joseph F. Gagliardi, who shall report to this court on or before May 29, 1987.
